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                          UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                               AT OWENSBORO
                           (ELECTRONICALLY FILED)

CIVIL NO. 4:18CV-66-JHM
UNITED STATES OF AMERICA                                            PLAINTIFF

v.

ARTHETTA GREGORY, ET AL                                             DEFENDANTS

              AMENDED REPORT OF WARNING ORDER ATTORNEY

      Now comes John Austin and states that he was appointed warning order

attorney for Arthetta Gregory in the above captioned matter. Undersigned counsel

mailed a letter via the United States Postal Service to Ms. Gregory’s last known address,

221 North Church Street, Madisonville, Kentucky, notifying Ms. Gregory of the pendency

of this action and warning her that she must take action to defend her rights affected

by it. Undersigned counsel has not heard from Ms. Gregory regarding that letter.

Undersigned counsel also attempted to reach Ms. Gregory by telephone but her last

listed number is now disconnected. It should be noted that Ms. Gregory is believed to

be approximately 89 years of age. Accordingly, undersigned counsel searched the court

records of the Hopkins Circuit Clerk’s office searching for any probate record related to

Ms. Gregory in the event that she is now deceased. No such record was found. Out of

an abundance of caution undersigned counsel also searched the online records of the

Kentucky Department of Corrections. It does not appear that Ms. Gregory is an inmate

in a Kentucky correctional facility. Undersigned counsel has identified three individuals

who may be related to Ms. Gregory, Eric Langley, Leslie Keith Fort, and Trinity Regina
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Love. Undersigned counsel attempted to reach those three individuals by telephone but

was unsuccessful.

       Based upon the foregoing investigation and actions undersigned counsel cannot

certify that Arthetta Gregory has received actual notice of the pending action.

Undersigned Warning Order Attorney knows of no defenses which Ms. Gregory may

have to this action.

       Wherefore, John Austin, Warning Order Attorney for Arthetta Gregory

respectfully requests:

   1. That the rights of Arthetta Gregory be protected.

   2. That this report be reviewed and accepted.

   3. That this attorney be awarded a reasonable fee for his services.

       This the 25th day of July, 2018.

                                               /s/ John D. Austin
                                               John D. Austin
                                               Attorney at Law
                                               227 Saint Ann Street
                                               Suite 400
                                               Owensboro, Kentucky 42303
                                               (270) 685-1885
                                               (270) 663-0421 (fax)
                                               Warning Order Attorney for A. Gregory
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                              CERTIFICATE OF SERVICE

       I certify that a true copy of the foregoing Report of Warning Order Attorney has
been served upon the United States Attorney’s office via filing of same electronically with
this Court. Further, a printed copy of same has been mailed to Hon. William Campbell,
Assistant United States Attorney at 717 West Broadway, Louisville, Kentucky 40202 on
this the 25th day of July, 2018.



                                                ___________________________
                                                John D. Austin
